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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 ROADSYNC, INC.,                        )
                                        )
       Plaintiff,                       )
                                        )
 v.                                     )
                                        )   Case No.: 1:21-cv-03420-MLB
 RELAY PAYMENTS, INC.,                  )
 SPENCER BARKOFF, and                   )
 JAMES RYAN DROEGE,                     )
                                        )
       Defendants.                      )


                       PLAINTIFF ROADSYNC, INC.’S
                     RULE 5.4 CERTIFICATE OF SERVICE

      Pursuant to Local Rules 5.4 and 26.3(A), I certify that on October 3, 2022, I

caused the following discovery to be served via electronic mail upon all counsel of

record in this matter:

  1. RoadSync’s Renewed First Set of Requests for Inspection (Nos. 1-2).

  Respectfully submitted this 5th day of October, 2022.

                                      /s/ Kyle Mooney
                                      Kyle Mooney (admitted pro hac vice)
                                      MORRISON & FOERSTER, LLP
                                      250 West 55th Street
                                      New York, NY 10019
                                      Tel: (212) 468-8000
                                      Fax: (212) 468-7900
                                      kmooney@mofo.com
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                                        Benjamin J. Fox (admitted pro hac vice)
                                        MORRISON & FOERSTER, LLP
                                        707 Wilshire Boulevard
                                        Los Angeles, CA 90017-3543
                                        Tel: (213) 892-5200
                                        Fax: (213) 892-5454
                                        bfox@mofo.com

                                        /s/ Benjamin E. Fox
                                        Benjamin E. Fox
                                        Georgia Bar No. 329427
                                        fox@bmelaw.com
                                        Frank M. Lowrey
                                        Georgia Bar No. 410310
                                        lowrey@bmelaw.com
                                        BONDURANT, MIXSON & ELMORE, LLP
                                        1201 W. Peachtree St. NW, Ste. 3900
                                        Atlanta, GA 30309
                                        Tel: (404) 881-4100
                                        Fax: (404) 881-4111

                                        Counsel for Plaintiff RoadSync, Inc.




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